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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                                     Chapter 7

 PROJECT VERTE INC.,                                        Case No. 23-10101-LSS
                                                            Hearing Date: March 16, 2023 at 2:30 p.m. EST
                                                            Obj. Deadline: March 9, 2023 at 4:00 p.m. EST
                         Debtor.

                     NOTICE OF MOTION FOR ENTRY OF AN ORDER
                     DIRECTING TURNOVER OF ESTATE PROPERTY

TO:       (A) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
          DELAWARE; (B) COUNSEL FOR THE DEBTOR; (C) COUNSEL FOR THE
          RECEIVER; (D) ALL PARTIES WHO HAVE FILED A PROOF OF CLAIM AS OF
          THIS MOTION; AND (E) THOSE PERSONS WHO HAVE REQUESTED NOTICE
          PURSUANT TO BANKRUPTCY RULE 2002

          PLEASE TAKE NOTICE that Alfred T. Giuliano, the Chapter 7 trustee (the “Trustee”)

for the estate of Project Verte Inc. (the “Debtor”), has filed a motion seeking the entry of an order,

directing turnover of estate property (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that if you seek to object or otherwise respond to

the Motion, you must file a response/objection to the Motion on or before March 9, 2023 at 4:00

p.m. in writing, with the United States Bankruptcy Court for the District of Delaware, 824 North

Market Street, 3rd Floor, Wilmington, DE 19899-2323. If a copy of the Motion is not enclosed,

you may obtain it by sending a written request to the Trustee’s proposed counsel at the address

listed on the following page.

          PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response/objection upon the Trustee’s proposed counsel:

          Seth A. Niederman, Esquire                          Michael G. Menkowitz, Esquire
          Fox Rothschild LLP                                  Jesse M. Harris, Esquire
          919 North Market Street, Suite 300                  Fox Rothschild LLP
          Wilmington, DE 19899-2323                           2000 Market Street, 20th Floor
                                                              Philadelphia, PA 19103-3222


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        A HEARING IS SCHEDULED FOR MARCH 16, 2023 AT 2:30 P.M.

    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY GRANT THE RELIEF REQUESTED BY THE MOTION WITHOUT
FURTHER NOTICE OR HEARING.

                                       FOX ROTHSCHILD LLP


                                    By:   /s/ Seth A. Niederman
                                      Seth A. Niederman, Esquire (No. 4588)
                                      919 N. Market Street, Suite 300
                                      Wilmington, DE 19899-2323
                                      (302) 654-7444/Fax (302) 656-8920
                                      sniederman@foxrothschild.com
                                             -and-
                                      Michael G. Menkowitz, Esquire
                                      Jesse M. Harris, Esquire
                                      2000 Market Street, Twentieth Floor
                                      Philadelphia, PA 19103-3222
                                      (215) 299-2864/Fax (215) 299-2150
                                      mmenkowitz@foxrothschild.com
                                      jesseharris@foxrothschild.com

                                      Proposed Attorneys for Alfred T. Giuliano, Chapter 7
                                      Trustee for the estate of Project Verte Inc.
Dated: February 24, 2023




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